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U.S. Department of Justice

United States Attorney
Southern District of New York

 

 

The Silvio J. Molio Building
One Saint Andrew's Plaza
New York, New York 10007

February 26, 2021
BY ELECTRONIC MAIL

The Honorable Jed 8. Rakoff
United States District Court
Southern District of New York
500 Pearl Street

New York, NY 10007

Re: United States v. James Patterson, 84 20 Cr. 188 (JSR)
Dear Judge Rakoff:

The parties write jointly with a proposed, agreed upon bail package for the Court’s
consideration in the above-captioned case. Specifically, the parties request that the Court enter an
order containing the following bail conditions as to the defendant:

(1) A $100,000 personal recognizance bond, signed by the defendant,
(2) Pretrial Services supervision as directed;
(3) Travel restricted to:
a. the Central and Southern Districts of California; and
b. the continental United States, with advance notice to Pretrial Services for
any travel outside of the Southern and Central Districts of California;
(4) Surrender of any travel documents, and no new applications for travel documents.

The parties propose that the signing of the personal recognizance bond occur no later than
Monday, March 1, 2021, and that the surrender of the defendant’s passport occur no later than
Monday, March 8, 2021.

Respectfully submitted,

Se orepEredD AUDREY STRAUSS
United States Attorney

Seth By: /s/

v Christopher DiMase / Emily Deininger /
oO 76 “2 { Nicholas Folly / Tara La Morte
Assistant United States Attorneys
(212) 637-2433 /-2472/-1060/-1041

 

cc: Emily Schulman, Esq.

 
